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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

TROJAN BATTERY COMPANY LLC,                      )
    Plaintiff,                                   )
                                                 )
v.                                               )      Civil Action No. 4:21-cv-03075
                                                 )
TROJAN EV LLC and GOLF CARTS                     )
OF CYPRESS LLC,                                  )
                                                 )
       Defendant.                                )


         DEFENDANTS’ UNOPPOSED MOTION FOR LEAVE TO FILE
                     DOCUMENTS UNDER SEAL

       Defendants Trojan EV LLC and Golf Carts of Cypress LLC (hereinafter

collectively “Defendants”), through undersigned counsel, respectfully file this

Unopposed Motion for Leave to File Documents Under Seal and in support of such

motion show the following:

       Certain of the parties’ admitted trial exhibits contain the parties’ confidential and

proprietary information.    Specifically, Defendants seek leave to file under seal the

following documents:

       1. Defendants’ Trial Exhibits 22, 23, 31 and Plaintiff’s Trial Exhibits 96, 98, 100,

          102, 165, 180 and 209.

Defendants’ file Defendants’ Trial Exhibits 22 and 23 under seal at TBC’s request.

       Under Rule 5.2(d) of the Federal Rules of Civil Procedure, the Court “may order

that a filing be made under seal without redaction.” To preserve the confidentiality of the



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information discussed in the referenced documents, Defendants seek the Court’s

permission to file the identified documents under seal.

       Accordingly, Defendants respectfully ask that the Court grant Defendants’ request

for leave to file under seal Defendants’ Trial Exhibits 22, 23, 31 and Plaintiff’s Trial

Exhibits 96, 98, 100, 102, 165, 180 and 209.

Dated: June 20, 2023               Respectfully submitted,

                                   PATTERSON + SHERIDAN, LLP

                                   By: /s/ Jerry R. Selinger
                                   Jerry R. Selinger
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                                   OF CYPRESS LLC

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                         CERTIFICATE OF CONFERENCE

       I certify that on June 20, 2023, I conferred with Tyler Marandola, counsel for
Plaintiff. Mr. Marandola advised that plaintiff does not oppose the foregoing motion.

      SIGNED this 20th day of June 2023.

                                         /s/ Jerry R. Selinger
                                         Jerry Selinger


                            CERTIFICATE OF SERVICE

          The undersigned hereby certifies that a true and correct copy of the foregoing
  document has been served on all counsel of record via the Court’s electronic case
  filing (ECF) system on June 20, 2023.


                                           /s/ Jerry R. Selinger
                                           Jerry R. Selinger




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